
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-05-146-CV





IN RE MACKEIL BILLINGSLEY	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator’s petition for writ of mandamus. &nbsp;The court is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s &nbsp;petition for writ of mandamus is denied.



PER CURIAM



PANEL A:	WALKER, LIVINGSTON, and DAUPHINOT, JJ.



DELIVERED: May 4, 2005

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




